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 1   C. EMMETT MAHLE, SB#121931
     901 H Street, Suite 203
 2   Sacramento, CA 95814
     (916) 447-1646
 3
     Attorney for Defendant
 4   JESSE CORRAL
 5

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 8                                IN THE UNITED STATES DISTRICT COURT
 9                         IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                              Case No.: Cr. 07-0304-MCE
12                   Plaintiff,                             WAIVER OF DEFENDANT’S APPEARANCE.
13           vs.
14   JESSE CORRAL,
15                   Defendant
16

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18           Defendant JESSE CORRAL hereby waives his right to be present in open court upon the hearing
19   of any motion or other proceeding in this cause, including, but not limited to, when the case is ordered set
20   for trial, when a continuance is ordered, and when any other action is taken by the court before or after
21   trial, except upon arraignment, plea, empanelment of jury and imposition of sentence. Defendant hereby
22   requests the court to proceed during each every absence of his which the court may permit pursuant to this
23   waiver; agrees that his interest will be deemed represented at all times by the presence of his attorney, the
24   same as if the defendant were personally present; and further agrees to be present in court ready for trial
25   any day and hour the court may fix in his absence.
26   //
27   //
28   //


     WAIVER OF DEFENDANT’S PRESENCE

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 1           Defendant further acknowledges that he has been informed of his rights under Title 18 U.S.C.
 2   Section 3161-3174 (Speedy Trial Act), and has authorized his attorney to set times and delays under the
 3   provisions of that act without the defendant being present.
 4

 5   Dated: March 18, 2008                            _____________/s/____________
                                                      JESSE CORRAL
 6                                                    Client
 7   Dated: March 18, 2008                            _____________/s/____________
                                                      C. EMMETT MAHLE
 8                                                    Attorney for Jesse Corral
 9

10                                                   ORDER
11           The Court, having read and considered the “Waiver of Appearance”, and finding good
12   cause therefore, such waiver is accepted by the Court.
13

14   IT IS ORDERED
15

16   Dated: March 18, 2008
17
                                                  __________________________________
18                                                MORRISON C. ENGLAND, JR
                                                  UNITED STATES DISTRICT JUDGE
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     WAIVER OF DEFENDANT’S PRESENCE

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